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 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )   1:09-cr-272 OWW
                                                 )
12                        Plaintiff,             )   ORDER ON GOVERNMENT’S
                                                 )   MOTION TO DISMISS
13                                               )   (Fed. R. Crim. P. 48(a))
                           v.                    )
14                                               )
     FLORENTINO GUTIERREZ,                       )
15                                               )
                                                 )
16                        Defendant.             )
                                                 )
17                                               )
18                                             ORDER
19          IT IS HEREBY ORDERED that the indictment in the above-entitled case be dismissed
20   without prejudice as to FLORENTINO GUTIERREZ only, in the interest of justice. .
21
22
     IT IS SO ORDERED.
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     Dated: June 1, 2010                           /s/ Oliver W. Wanger
24   emm0d6                                   UNITED STATES DISTRICT JUDGE
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